212-243-1100 • Main                                                         225 Broadway, Suite 715
917-912-9698 • Cell                                                             New York, NY 10007
888-587-4737 • Fax                                                             bcsternheim@mac.com


                                                      June 24, 2022

Submission Under Seal

Honorable Alison J. Nathan
Sitting By Designation
United States District Court
40 Foley Square
New York, NY 10007

                       Re: United States v. Ghislaine Maxwell
                                  S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       Ghislaine Maxwell submits this letter in response to the Court’s order (Dkt. 665). Ms.

Maxwell objects to characterization of Sarah Ransome, Maria Farmer, Teresa Helm, and Juliette

Bryant (collectively, the "Individuals") as "victims" of the counts of conviction and disputes that

the Individuals qualify as statutory victims within the definition of a "crime victim" contained in

the Crime Victims' Rights Act, 18 U.S.C.A. §3771 ("CVRA").

       The issue that requires resolution in advance of sentencing is whether the Individuals, or

their representatives, have statutory crime victim status under the CVRA. Under the statute,

definition of “crime victim” takes as a given that there has been a “federal offense” committed.

See 18 U.S.C. § 3771(e)(2)(A). Ms. Maxwell asserts that the Individuals are not statutory crime

victims of the federal offenses of conviction, which require that (i) each was a minor at the time

to the alleged abuse, (ii) the alleged abuse occurred during the period alleged in the indictment,

and (iii) the Individuals were “directly and proximately harmed as a result of the commission of

[the] Federal offense.” Id.(emphasis added).
Victim Impact Statements at Issue

        Without stating its position regarding standing under the CVRA, the government has

provided seven witness impact statements allegedly authored by the following: Annie Farmer

(Exhibit A), “Kate” (Exhibit B), Virginia Giuffre (Exhibit C),, Maria Farmer (Exhibit D), Sarah

Ransome (Exhibit E), Teresa Helm (Exhibit F), and Juliette Bryant (Exhibit G).1 Annie Farmer, a

minor at the time of the offense, and “Kate” were both named in the indictment and each testified

at trial. Virginia Giuffre did not testify at trial but testimony and exhibits support that she was a

minor when she interacted with Epstein and Ms. Maxwell during the time period of the

indictment. Annie Farmer and Ms. Giuffre qualify as victims under the CVRA: both were minors

when they interacted with Epstein and Ms. Maxwell during the period of the charged offenses.

“Kate” was not a minor during the time period, and the jury was charged as such. Maria Farmer,

Sarah Ransome, and Teresa Helm were not minors during the time they allegedly interacted with

Epstein and Ms. Maxwell. Ms. Ransome’s alleged interaction occurred beyond the period of the

charged offenses. It is unknown whether Juliette Bryant was a minor or when she allegedly

interacted with Epstein and Ms. Maxwell.

        The victim impact statements recount abuse and injuries suffered by the Individuals.

Allegations alone do not serve to automatically qualify the Individuals as statutory victims under

the CVRA. Their statements do not link the alleged abuse and injuries "directly and

proximately" to federal offense conduct whose essential qualifying element is that the victim was

a minor at the time of the offense.



1
  The statements of Virginia Giuffre, Annie Farmer, Maria Farmer, Teresa Helm, and Juliette Bryant were
submitted on the letterhead of their mutual attorney, Sigrid S. McCawley, Esq. “Kate’s” statement was
accompanied by a motion by her attorney, Bradley J. Edwards, Esq. The statement of Sarah Ransome,
referenced in a letter to the Court by her attorney, Robert Y. Lewis, Esq. (Dkt. 666), appears to have been
submitted directly by Ms. Ransome. Proposed redactions are reflected in each Exhibit.


                                                    2
The CVRA Applies Only to Federal Crimes

       Based on the text, origin and limited legislative history, the CVRA applies to victims of

federal crimes only. 18 U.S.C. § 3771(e). The federal crimes of conviction require the

involvement of minors. The Individuals claiming sexual abuse who were not minors may

qualify generically as victims of sexual abuse but not as statutory victims of the federal offenses

of conviction.

The Individuals Are Not "Victims" of the Counts of Conviction

       Neither the Superseding Indictment nor the Court’s jury instructions support a position

that anyone who was not a minor is a "victim" of the counts of conviction. The involvement of a

minor is an essential element of the federal offense conduct. Maria Farmer claims she was

abused during the time period of the indictment; however, she was not a minor. Sarah Ransome

was not a minor when she claims she interacted with Epstein and Ms. Maxwell from

approximately October 2006 to April 2007, a full two years after the conduct in this case ended.

Teresa Helm also was not a minor and it is unknown when she claims to have had contact with

Epstein and Ms. Maxwell. It is unknown whether Juliette Bryant was a minor or when she claims

to have had contact with Epstein and Ms. Maxwell. None of these Individuals testified at trial

and their credibility remains unexamined. Regarding the charges in this case, they do not qualify

as victims under the CVRA.

The Individuals Are Not "Victims" Within the Meaning of the CVRA

       For the Individuals to invoke the rights enumerated under the CVRA, they must first be

determined to be "victims" within the meaning of the statute. The CVRA defines a “crime

victim” as “a person directly and proximately harmed as a result of the commission of a Federal

offense or an offense in the District of Columbia.” 18 U.S.C. 3771(e)(2)(A) (emphasis added).




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The concept of “direct and proximate harm,” as used in the CVRA, is not limitless and only

covers victims of the conduct underlying the offenses of conviction. See United States v. Daly,

No. 3:11-cr-121 (AWT), 2012 WL 315409, at *5-*6 (D. Conn. Feb. 1, 2012) (“[T]he

determination as to whether person has the rights of a ‘crime victim’ for purposes the CVRA is

made with reference to the conduct underlying the charged offense.”) (emphasis added). While

individuals claiming to have been victims of sexual abuse may qualify generically as victims, all

sex crimes are not federal offenses and, as such, would be confer rights under the CVRA.

       Accordingly, for the Individuals to be considered "victims," they must have been minors

and "directly and proximately" been harmed by the "commission" of the “federal crimes” for

which Ms. Maxwell has been convicted. Here, no such showing can be made for the Individuals.

The alleged abuse and injuries were not caused by Ms. Maxwell’s offenses of conviction: the

Individuals were not minors at the time of the federal offenses and their allegations are too

factually and temporally attenuated to the commission of the federal offenses.

       As the Court instructed the jury, the age of the victim was an essential element for each

offense. The Individuals were not minors and are unable to demonstrate that their alleged abuse

and injuries were a consequence of the charged offenses against minors.

Because The Individuals Are Not "Crime Victims" Under the CVRA, They Should Be
Precluded from Being Heard at Sentencing

       The right to be heard at sentencing applies only to persons who are statutory “crime

victims” of the offenses of conviction. The CVRA provides that where a person is a “crime

victim,” as defined in that statute, she has the right to be reasonably heard at sentencing. 18

U.S.C. § 3771(a)(4), § 3771(e) (defining “crime victim”). While the sentencing court has

discretionary authority to receive information from a wider range of affected individuals

under 18 U.S.C. § 3661, only those holding statutory crime victim status have rights of



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allocution at sentencing Id. §3771(a)(4), (e). The definition of “victim” in the CVRA does not

mirror the various definitions of “victim” in the guidelines. Cf. United States v. Blake, 81 F.3d

498, 506 n.5 (4th Cir. 1996) (“The definition of victim provided in [the statute] is much narrower

than the one in the guidelines.”) Therefore, the terms should not be conflated. It cannot be

assumed that “relevant conduct” for guidelines purposes is the same as “related conduct” for

purposes of determining statutory victim status under a scheme or conspiracy-based offense. Nor

does the term “victim,” as variously appearing in the guidelines, inform the determination of

statutory victim status under the CVRA.

Ms. Maxwell’s Due Process Rights Must Be Safeguarded

        The CVRA affords victims the right of confrontation against their alleged abusers.

The Act does not provide a reciprocal right to a defendant, whose due process rights rest in the

opportunity to cross-examine an alleged victim during trial. Of the four accusers who testified at

trial, only two – Annie Farmer and “Kate”- have submitted victim impact statements. To the

extent permitted by the Court’s rulings, the defense had the opportunity to challenge their

allegations and credibility during the trial. Under Federal Rule of Evidence 412, the Court

precluded the defense from raising certain issues during trial. Both Annie Farmer and “Kate”

raise issues in their written statements that were not disclosed by the government or revealed

during their testimony and should not be permitted to be aired during sentencing

                                                                             . To the extent such

portions of their statements are redacted, we will not press objection for CVRA victims. Virginia

Giuffre was mentioned during trial but was not called as a government witness. Her credibility

remains in issue.2 By letters to the government, counsel for Alan Dershowitz have cautioned the


2
 Absent from Ms. Giuffre’s statement is any mention of her abuse by a 65-year-old sex trafficker, Ron
Eppinger, pre-dating her meeting Epstein and Ms. Maxwell, which she recounted in her memoir -


                                                   5
government concerning Ms. Giuffre’s significant credibility problems See Exhibits H and I. Ms.

Giuffre’s impact statement, while admissible under the CVRA, should be redacted and the letters

challenging her credibility should be made part of the record in this case.

        The process for a sentencing court to receive and utilize victim impact information from

statutory crime victims and other affected persons must be consistent with a defendant's due

process rights: the right not to be sentenced based upon materially false information (see

Townsend v. Burke, 334 U.S. 736, 741 (1948)) and the right to be sentenced based upon accurate

information, as safeguarded by Federal Rule of Criminal Procedure 32. There are potential Sixth

Amendment Booker concerns if the definition of statutory “crime victim” under the CVRA is

interpreted so broadly that it is not based upon the offense established by the jury verdict.

The Victim Impact Statements Should Be Redacted

        The Individuals are not “crime victims” of the charged federal offenses under the CVRA.

Their victim impact statements are unduly prejudicial, contain allegations not previously before

the Court which serve to inflame the emotions of the Court and public. Their airing during

sentencing or any consideration by the Court in imposing sentence, would violate Ms. Maxwell’s

due process rights.

        We object to the publication of the impact statement of the Individuals. However, should

the Court permit the inclusion of these victim impact statements in connection with the

sentencing proceeding, we request that portions be redacted, including but not limited to

statements that would have been precluded under Rule 412, medical conditions claimed to have


 “The Billionaire’s Playboy Club.” See Giuffre v. Maxwell, 18-2868 (2d Cir.) Dkt. 278, Exhibit KK at
563-646. Ms. Giuffre lived with Eppinger for approximately 6 months when he ran a front business for
international sex trafficking known as the modeling agency "Perfect 10". He was prosecuted in the
Southern District of Florida and pleaded guilty to charges of alien smuggling for prostitution, interstate
travel for prostitution, and money laundering. See United States v. Eppinger, 00 Cr. 131 (FAM)(SD-FL)



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been caused because of contact with Ms. Epstein, and graphic pictures. See Proposed Redactions

in Exhibits A-G.



                                                 .3 Both Maria Farmer and Ms. Ransome have

elected to breach their personal privacy by placing themselves before the media. In addition, Ms.

Ransome timed the release of her memoir, “Silenced No More,” (December 7, 2021) and book

tour to coincide with her attendance at the trial .

The Sentencing Proceeding Should Not Be a Bully Pulpit for Anyone Who Claims Abuse

        The prosecution of Jeffrey Epstein was an opportunity for alleged victims who were

disenfranchised in connection with Epstein’s Florida sweetheart deal to have their voices heard.

Epstein’s untimely death following his arrest dealt a further blow to his accusers. Following

Epstein’s sudden and untimely death almost three years ago, Judge Berman provided an

opportunity for any victim to make a statement regardless of whether they qualified under the

CVRA. Kate, Virginia Giuffre, and Sarah Ransome each spoke at that hearing, Annie Farmer

spoke solely on behalf of her sister, Maria Farmer. See United States v. Epstein, 19 Cr. 490 (Dkt.

53). But the sentencing proceeding to be held on June 28 is far different from the unique hearing

conducted by Judge Berman. The victim statements presented to Judge Berman had no impact on

the rights of Epstein, a deceased defendant whose case was required by law to be abated. Such is

not the case here. While it is appropriate for the public to be present and for legitimate CVRA


3
 Noticeably missing from Ms. Ransome’s statement is conduct that very well may have contributed to
her allegations: She was high-priced “escort’ for Emperor’s Club, the agency patronized by Elliot Spitzer.
Litigation cited in her impact statement revealed that in or about October 2006, Ms. Ransome work for an
agency, got paid thousands of dollars per “escort” and engaged in sexual activity. A modeling photo of
Ms. Ransome produced in her discovery appeared on the Emperor’s Club advertisement. The government
prosecuted the Emperor’s Club owners. See United States v. Brener, 08 Cr. 533 (DLC), Dkt. 1 (criminal
complaint, 08 MJ 463).



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victims to be heard, Ms. Maxwell’s sentencing proceeding should not be an open-mike forum for

any alleged victim.

       Impact statements by alleged victims who did not testify, were not referenced in the

record as victims, or do not qualify as “crime victims” under the CVRA should be published

during the sentencing proceeding or have their statements included in the record. While the

Congressional Record is silent on this issue, it is hard to believe that Congress intended the

CVRA to give voice to anyone and everyone who claims to be a victim but does not qualify

under the statute and whose accusations have not been verified. A high-profile case, such as this,

becomes a lightning rod for individuals to come forward, especially where to do so may yield

financial reward and media attention. Such an open forum would have significant and adverse

consequences to any criminal defendant facing the most critical stage of the case: sentencing and

deprivation of liberty.

       Ms. Maxwell’s sentencing proceeding should not a bully pulpit for anyone

who was not identified as a victim of the charged federal offenses and does not qualify as such

under the CVRA. We urge the Court to undertake its role as gatekeeper to ensure that Ms.

Maxwell’s rights are not trampled by individuals who are not statutory victims or by the rights

afforded to legitimate victims under the CVRA. To ensure that the appropriate balance of rights

is achieved, those who qualify under the CVRA offenses should have the right to be heard but

their statements should be in accordance with redactions and rulings made by the Court.

Because the Individuals do not meet the definition of "crime victims" under the CVRA, they

should not be permitted to give oral testimony or have their written victim impact statements

read during sentencing.




                                                 8
                            Very truly yours,

                            /s/

                            Bobbi C. Sternheim

Attachments

cc: Counsel of Record




                        9
EXHIBIT A
                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                           June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:      United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Annie Farmer, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Annie Farmer
qualifies as a victim and was a testifying witness during the trial. Ms. Farmer thus requests the
Court’s permission to make an oral statement at the sentencing.

Statement by Annie Farmer:

Judge Nathan,

        For a long time, I wanted to erase from my mind the crimes that Ghislaine Maxwell and
Jeffrey Epstein committed against me and pretend they hadn’t happened. Beyond my initial
description to my boyfriend and family of what occurred when I was with them in New Mexico, I
didn’t talk about it for years. It was the type of dark memory that feels safest to keep locked away,
and so I did the best I could.

         The world did not cooperate with this strategy, however. Something would bring to mind
this experience and my body would respond with an upset stomach and physical shakiness. I’d feel
irritable, have trouble focusing, and feel disoriented. In recent years, I have been asked repeatedly
to describe these crimes to law enforcement and the media, and I have learned heartbreaking details
about the ways Maxwell and Epstein abused and exploited so many others. Focusing on these
experiences that I tried so hard to avoid thinking about has forced me to acknowledge the many
ripple effects of their crimes for myself and my family and the continued impact of these long-ago
events on my life.

        One of the most painful and ongoing impacts of Maxwell and Epstein’s abuse was a loss
of trust in myself, my perceptions, and my instincts. When predators groom and then abuse or
exploit children and other vulnerable people, they are, in a sense, training them to distrust
themselves. When a boundary is crossed or an expectation violated, you tell yourself, “Someone
who cares enough about me to do all these nice things surely wouldn’t also be trying to harm me.”
This pattern of thinking is insidious, so these seeds of self-doubt took root even as I learned my
sister had also been harmed by them, and came to find out years later that many others had been
exploited. For years these memories triggered significant self-recrimination, minimization and
guilt. I blamed myself for believing these predators actually wanted to help me. I felt tremendous
survivor guilt when I heard what other girls and young women had experienced at the hands of
Maxwell and Epstein. I saw how my sister’s concern about me weighed on her and felt guilty about
this as well.

        This toxic combination of being sexually exposed and exploited, feeling confused and
naïve, blaming myself all resulted in significant shame. That sickening feeling that makes you
want to disappear. It was not constant, but would come in waves, similar to the waves of anxiety
that would also show up. When I think back, I see a slideshow of moments when these feelings
would surface and overwhelm me. I remember sitting at my desk in a Houston hospital physically
shaking after seeing the photo of Maxwell with Virginia Giuffre and Prince Andrew because it
became clear to me how their scheme had continued; the time an unexpected security screening
from a TSA agent who patted down my chest with the back of her hand left me crying and
disoriented at the airport; a 40th birthday gathering where I broke down crying telling the story to
some friends for the first time. There are too many of these moments to name, and though I have
come a long way in my path of healing, I know that these feelings will continue to be triggered at
times.

         The ripple effects of trauma are undeniable, when one person is abused, many others are
harmed. In addition to the way I was impacted as an individual, there was the pain I experienced
as a sister                                                      , and the harm caused to the rest
of my family due to these events.


                                    It was heartbreaking and infuriating, and we later learned how
often this pattern was repeated. A young person on the path of pursuing her dreams was pulled in
by Maxwell, was abused and exploited, and then had to try to piece together a life in the aftermath
of this trauma that left them feeling distrustful and fearful. Most of these individuals had families
who were also negatively impacted as they witnessed and felt the systemic effects of their loved
one’s losses and struggles. The number of people harmed is impossible to measure.

        Maxwell had many opportunities to come clean, but instead continued to make choices that
caused more harm. When my sister and I first spoke out to the media about what happened to us,
Maxwell lied about us and threatened Maria, thus helping shut down investigations into Epstein’s
behavior so they could together continue to harm children and young women. After this attempt
to alert people to Epstein and Maxwell’s abusive behavior, I avoided being public about it for
almost two decades. My shame told me that I should hide this fact because it was embarrassing.
Later, as I pursued my profession as a psychologist, I feared it could potentially ruin my career. I
worried clients would not want to work with me if I was associated with this story wrongly labeled
as one of “child prostitution.” I feared being on Epstein and Maxwell’s radar because of their
previous lies and threats.


                                               2 of 3
          Once arrested, Maxwell faced another choice. She could admit her participation in this
scheme, acknowledge the harm caused or even provide information that could have helped hold
others accountable. Instead, she again chose to lie about her behavior, causing additional harm to
all of those she victimized. For me, it meant having to be involved in this nearly two-year legal
process that involved reliving this painful experience over and over again. It was incredibly
stressful and interrupted my professional life as I missed sessions with my clients for court
appearances, trial prep, and meetings with attorneys. An uncertain and shifting trial schedule made
it difficult to plan anything. As the trial date drew closer, I scaled back my caseload, as I wasn’t
sure how it would impact me and how much work I’d have to miss. Then, during the trial, my
memories were repeatedly called into question, and I was publicly grilled on the details of the
trauma she perpetrated. Given the shame and self-doubt that these injuries had already caused, this
all felt like a retraumatization—one that could have been easily avoided had she told the truth.

        Judge Nathan, I hope when you consider the appropriate prison sentence for the role
Maxwell played in this sex trafficking operation, you take into account the ongoing suffering of
the many women she abused and exploited as we will continue to live with the memories of the
ways she harmed us. I hope you weigh the systemic effects of the crimes she perpetrated—the
ways that our family members, romantic partners, and friends have been hurt through our suffering.
I ask you to bear in mind how Maxwell’s unwillingness to acknowledge her crimes, her lack of
remorse, and her repeated lies about her victims created the need for many of us to engage in a
long fight for justice that has felt like a black hole sucking in our precious time, energy, and well-
being for much too long now. These things cannot be replaced.


                                       Respectfully,



                                       Sigrid S. McCawley




                                                3 of 3
EXHIBIT B
In re: Ghislaine Maxwell, Statement for Consideration by “Kate”

I began writing this statement on Mother’s day, because, it has been my experience, that it was
only in becoming a mother, to a daughter, that gave me the courage and impetus to speak out
about the abuse I had suffered and made me understand the gravity and horror of what had
taken place.

It was, in fact, when my daughter was about 1 or 2, that I reached out to attorney Brad Edwards
and began to tell him the full extent of the heinous manipulation and abuse, instigated and
perpetuated by Ghislaine Maxwell. From the very first conversation, I was emphatic that
Ghislaine was the true enabler and facilitator of my abuse.

It has been proven to be true for me (and for many survivors of this kind of grooming and
insidious abuse with whom I have spoken), that the experience of looking at my own baby girl
and imagining her falling victim to such atrocities, awakened compassion in me for myself as a
young girl and for the many, many others who suffered because of Ghislaine Maxwell. It was this
experience that fueled a call to action.

 It was the very skilled grooming, perpetrated on me, intentionally and consistently, that instilled
in me, the belief that I could not say no to Ghislaine Maxwell, or Epstein.

I witnessed on numerous occasions, over many years, Ghislaine Maxwell trying to recruit other
girls and making consistent and insistent demands on me and others to do the same.

I witnessed her relentless and insatiable drive to meet the sexual needs of Epstein, at any cost to
the vulnerable girls and women, upon whom she preyed and fed to Epstein and other powerful
men, to whom she wished to ingratiate herself.

There was never any ambiguity or doubt about her having full knowledge of what was to take
place once she recruited girls.

The many acts that were perpetrated on me by Epstein, including                          sexual
assault, were never consensual, and would have never occurred, had it not been for the cunning
and premeditated role Ghislaine Maxwell played.

She repeatedly reinforced rewards for acquiescence and consequences for disobedience.

Being around her was like being spun really fast in a circle and then trying to maintain balance. It
was like a roller coaster ride, designed to disorient and disempower me as a vulnerable, young
girl, for the sole purpose of providing me to Epstein for sexual abuse.

The best way to imprison someone, is to make them create the prison bars in their own mind, to
instill enough fear to make sure they never risk leaving or disobeying and make the bars invisible
to everyone, so that no one can see their cage, or hear their silent screams.
                                                 1
The consequences of what Ghislaine Maxwell did have been far reaching for me.
I have struggled with, and eventually triumphed over, substance use disorder.
I have suffered panic attacks and night terrors, with which I still struggle.
I have suffered low self esteem, loss of career opportunities.

I have battled greatly with feeling unable to trust my own instincts, in choosing romantic
relationships.

I have had a hard time identifying dangerous people or situations.

I have also suffered periods                   .

At the age of 45, at 19 years of continuous sobriety and, after many years of engaging in different
modalities of therapy, I am beginning to see some light in deprogramming my own mind and
body from the messages I was programmed with, because of this abuse. What happened to me
at that young age changed the course of my life drastically, forever.

Speaking out about what happened to me opened me up to much criticism and forced me to
relive parts of my story that I would have preferred to have done privately, in the safety of trusted
individuals.

Testifying in this trial was both terrifying and retraumatizing.

I do not, however, regret it for one moment. There is nothing more important than protecting
the innocent and, if I was able to provide, in any way, information helpful to understanding the
nature of this type of abuse, as perpetrated by Ghislaine Maxwell, then my pain has had meaning
and therefore not been for naught.

I remain in deepest gratitude to the other women who came forward and to those who, for
whatever reason, didn’t or couldn’t.

I remain in deepest gratitude to the prosecutors who worked tirelessly to bring Ghislaine Maxwell
to justice, to protect the women who testified and to expose the grotesque malice with which
these crimes were committed.

I remain in deepest gratitude to the people of the jury, who gave up their time and energy, to be
part of this great judicial system, that saw a fair trial was executed.

I remain in deepest gratitude to Judge Nathan, for presiding so cautiously, fairly, and
deliberately.

I remain in deepest gratitude to my partner, friends and family, who tirelessly supported me
through this unnatural and traumatic time.

                                                   2
Finally, I remain in deepest gratitude to my attorneys Brad Edwards and Brittney Henderson,
without whom this trial may never have come about.

To them I would like to say:

Thank you for listening when no one else would.
Thank you for never giving up on fighting for what is right.

Special thanks to Brad Edwards, for showing me that good men exist and fight for what is right,
no matter the cost.

In becoming, a mother I have learned that forgiveness is important, but so are consequences.


Kate




                                                3
EXHIBIT C
                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                          June 22, 2022
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       I am counsel for Virginia Giuffre, and I am providing the following victim impact
statement for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Virginia Giuffre
qualifies as a victim as the Defendant participated in her trafficking from 2000 to 2002, and
testimony relating to that trafficking was presented as evidence during the trial in this case. Due
to a medical issue, Ms. Giuffre is unable to attend the sentencing in person and therefore
respectfully requests that the Court read her statement into the record or, alternatively, allow her
attorney representative Sigrid McCawley to read the statement on her behalf.

Statement by Virginia Giuffre:

        Your honor, my name is Virginia Roberts Giuffre. For more than two years, from age 16
to 19, I was abused by Ghislaine Maxwell. Before I begin, I want to acknowledge and profusely
thank the police, FBI investigators, prosecutors and judges who have invested their time and
integrity in this case to hopefully set a precedent for victims and the hunters who prey upon them.

       Now, if it pleases the court, I would like to address my victim impact statement directly to
Ghislaine Maxwell.

       Ghislaine, twenty-two years ago, in the summer of 2000, you spotted me at the Mar-a-Lago
Hotel in Florida, and you made a choice. You chose to follow me and procure me for Jeffrey
Epstein. Just hours later, you and he abused me together for the first time. Together, you damaged
me physically, mentally, sexually, and emotionally. Together, you did unthinkable things that still
have a corrosive impact on me to this day.

        I want to be clear about one thing: without question, Jeffrey Epstein was a terrible
pedophile. But I never would have met Jeffrey Epstein if not for you. For me, and for so many
others, you opened the door to hell. And then, Ghislaine, like a wolf in sheep’s clothing, you used
your femininity to betray us, and you led us all through it.
       When you did that, Ghislaine, you changed the course of our lives forever. You joked that
you were like a new mother to us. As a woman, I think you understood the damage you were
causing—the price you were making us victims pay. You could have put an end to                , the
molestations, the sickening manipulations that you arranged, witnessed and even took part in. You
could’ve called the authorities and reported that you were a part of something awful.

       I was young and naïve when we met, Ghislaine, but you knew that. In fact, you were
counting on it. My life as a young person was just beginning. You robbed me of that by exploiting
my hopes and ambitions.

       Ghislaine, the pain you have caused me is almost indescribable. Because of your choices
and the world you brought me into, I don’t sleep. Nightmares wake me at all hours. In those
dreams, I relive the awful things you and others did to me and the things you forced me to do.
Those memories will never go away. I have trouble meeting new people without questioning if
somehow they are going to hurt me, too. I don’t allow my children to stay over at friends’ houses,
or to walk down the street alone. I don’t trust anyone to be near them without me or my husband
close by. I am hyper-vigilant, because I know that evil exists. You taught me that.

         There is not a day that goes by that I don’t ask, “Why?” Why, Ghislaine, did you enjoy
hurting us so much? I worry every single day and night that you will get away with it and evade
being punished. I will worry about that until you are brought to justice. And what should that
justice look like? Ghislaine, you deserve to spend the rest of your life in a jail cell. You deserve to
be trapped in a cage forever, just like you trapped your victims.

        But Ghislaine, I want you to know that while you tried to break me, you didn’t succeed.
Despite you, I have grown into a woman who tries to do good in the world—a woman who, on her
best days, feels like she is making a difference. My promise to you is as follows: As long as you
and perpetrators like you continue to prey upon the vulnerable, I will not stop standing up and
speaking out. Together, with so many others you abused, we will do all we can to keep predators
from stealing the innocence of children. I will never give up. I will never go away. If you ever get
out of prison, I will be here, watching you, making sure you never hurt anyone else again.

       Thank you, your honor.




                                       Respectfully,



                                       Sigrid S. McCawley




                                                2 of 2
EXHIBIT D
                                                                                    Sigrid S. McCawley
                                                                            Telephone: (954) 356-0011
                                                                          Email: smccawley@bsfllp.com

                                           June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Maria Farmer, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Maria Farmer
qualifies as a victim as the Defendant participated in her trafficking in 1996. Due to a medical
issue, Ms. Farmer is unable to attend the sentencing in person, therefore she respectfully requests
that the Court read her statement into the record or, alternatively, allow her attorney representative
Sigrid McCawley to read the statement on her behalf.
Respectfully,



Sigrid S. McCawley




        2 of 2
                                                                                    Sigrid S. McCawley
                                                                            Telephone: (954) 356-0011
                                                                          Email: smccawley@bsfllp.com

                                           June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Maria Farmer, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Maria Farmer
qualifies as a victim as the Defendant participated in her trafficking in 1996. Due to a medical
issue, Ms. Farmer is unable to attend the sentencing in person, therefore she respectfully requests
that the Court read her statement into the record or, alternatively, allow her attorney representative
Sigrid McCawley to read the statement on her behalf.
Respectfully,



Sigrid S. McCawley




        2 of 2
EXHIBIT E
ENTIRE EXHIBIT SHOULD BE PRECLUDED
        EXHIBIT F
ENTIRE EXHIBIT SHOULD BE PRECLUDED
                                                                              Sigrid S. McCawley
                                                                      Telephone: (954) 356-0011
                                                                    Email: smccawley@bsfllp.com

                                        June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Teresa Helm, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Teresa Helm
qualifies as a victim as the Defendant participated in her trafficking in 2002. Ms. Helm thus
requests the Court’s permission to make an oral statement at the sentencing.
Respectfully,



Sigrid S. McCawley




        2 of 2
EXHIBIT G
                                                                                   Sigrid S. McCawley
                                                                           Telephone: (954) 356-0011
                                                                         Email: smccawley@bsfllp.com

                                          June 22, 2022

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        I am counsel for Juliette Bryant, and I am providing the following victim impact statement
for the Court’s consideration with respect to Maxwell’s sentencing.

        Pursuant to the Crimes Victims’ Rights Act, 18 U.S.C. Sec. 3771, Ms. Juliette Bryant
qualifies as a victim as the Defendant participated in her trafficking from 2022 to 2004. Ms. Bryant
was unable to leave her small child to travel from South Africa for the sentencing hearing and is
therefore, unable to attend. Ms. Bryant therefore respectfully requests that the Court read her
statement into the record or, alternatively, allow her attorney representative Sigrid McCawley to
read the statement on her behalf.




       I appreciate Your Honor imposing the maximum sentence available.



                                      Respectfully,



                                      Sigrid S. McCawley
EXHIBIT H
                                              SDNY_GM_02775899


SUBJECT TO PROTECTIVE ORDER PARAGRAPHS 7, 8, 9, 10, 15, and 17
                                              SDNY_GM_02775900


SUBJECT TO PROTECTIVE ORDER PARAGRAPHS 7, 8, 9, 10, 15, and 17
                                              SDNY_GM_02775901


SUBJECT TO PROTECTIVE ORDER PARAGRAPHS 7, 8, 9, 10, 15, and 17
EXHIBIT I
                                              SDNY_GM_02775902


SUBJECT TO PROTECTIVE ORDER PARAGRAPHS 7, 8, 9, 10, 15, and 17
                                              SDNY_GM_02775903


SUBJECT TO PROTECTIVE ORDER PARAGRAPHS 7, 8, 9, 10, 15, and 17
